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1            The Court, having reviewed the Stipulation of Dismissal of Plaintiff Didy Najarro’s
2      Claims Without Prejudice, and good cause appearing therefore, hereby enters the following
3      Order.
4            1. The Stipulation of Dismissal of Plaintiff Didy Najarro’s Claims Without
5               Prejudice is GRANTED.
6            2. Each party is to bear its own fees and costs.
7            IT IS SO ORDERED.
8
9      DATED:      October 8, 2021
                                                    Hon. Stephen V. Wilson
10
                                                    United States District Judge
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                [PROPOSED] ORDER GRANTING STIPULATION OF DISMISSAL
